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                        UNITED STATES DISTRICT COURT
                        SOUTHENH DISTRICT OF FLORIDA


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              MOTION TO OPEN SEARCH WAQNAHT AFFIDAVIT IS) ANn
          OTHER DOCTRm NTS AND TO DESIGNATE MOVANT A S A LIM ITED
         PARTY OF INTEREST FOR NOTICE AND SERVICE OF DOCTRR NTS



       Movant undersigned moves the Court to open the Affidavit ts)
  and other supporting materials in this proceeding ; in support of

 his request for relief he states :

       1 . Movant is a ballot-qualified candidate for United States

  Senator in New Hampshire in the 2022 primary election (see

  andymartinforussenator.com) and a Republican Party activist.
             Because New Hampshire conducts the First-ln-The-Nation

  OAFITN'Q primary , the activity of potential presidential
  candidates is of special interest to New Hamp shire voters in

  b0th primary and general election discussions .

             In particuiar , FITN activity will begin the day after

  the Novmmher election this year, or in less than three (3)
  months .
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       4 . Because questions about the search warrant are already

 appearing r Movant is making an extra effort to be informed about

 the nature and status of the controversy .

       5. Movant is an author/writer. He first encountered former
 President Donald Trump in 1979 when Movant was serving on the

 Board of Managers of Olympic Tower Condominium in New York City .

 M ovant reviewed Trump 's Mboard package '' (application to lease an

 apartment) and approved his proposed lease of a condom inium
 unit .

       6. Movant later consulted informally with the architects

  for Trump Tower .

       7 . In each of the subsequent decades , Movant and Trump 's

  lives have crisscrossed in minor and major ways. Most recently ,
 Movant was a guest at a function at Mar-Lago in 2015 , when Trump

  appeared to welcome the guests .

       8 . Because of his decades-long connection to Trump , Movant

  is working on a book , tentatively VA Psychological Study of

  President Donald Trump y'' and i'
                                  s assmmhling material and doing

  his own analysis. (Movant is not a psychologist or psychiatrist
 but is a skilied interviewer and evaluator of human behavior and

  was familiar with the Trump milieu in New York and Palm Beach).

        9. Access to the Affidavitts) and any supporting materials
  in this matter would obviously be of special interest to Movant

  in preparing his b ook .
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          10 . Movant is in South Florida for a very lim ited period of

  time to do in person , on-the-scene research on the search

 warrant controversy .

          11 . Movant asks that pursuant to whatever op tion is

  avaiiable , he b e designated as a lim ited party to this

 proceeding for the purpose of being entitled to receive service

  of notices , documents and appeals , if any .



 Respectfu ly subm itted ,



 Andy Martin
 P . 0 . Box 742
 Manchester, NH 03105-0742
  Tel . (347) 960-9593
  Fax (866) 214-3210
  Email : andymartzo@aol .com


      Agreement to receive m ail notices and service of documents


          The undersigned agrees to receive notices and service of
  docum     ts by em ail .


  Andy Martin
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                            Certificate of Service

    I certify that on August 13 , 2022 I served the following
    parties/interested persons and, upon being notified by the
    court, will serve any additional parties/interested persons:
    Juan Antonio Gonzalez
    United States Attorney
    4% Floor
    500 Australian Avenue
    West Palm Beach , FL 33401
    By fax (561) 820-8777
    Meland Budwick , P .A .
    3Q0 Southeast Financial Center
    200 S. Biscayne B lvd .
    Miami , FL 33131
    By fax (305) 358-1221
    Email : mbudwick@melandbudwick .com


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